Case 1:19-cr-10080-NMG Document 972-31 Filed 03/25/20 Page 1 of 5




               EXHIBIT EE
Case 1:19-cr-10080-NMG Document 972-31 Filed 03/25/20 Page 2 of 5
Case 1:19-cr-10080-NMG Document 972-31 Filed 03/25/20 Page 3 of 5
Case 1:19-cr-10080-NMG Document 972-31 Filed 03/25/20 Page 4 of 5
           Case 1:19-cr-10080-NMG Document 972-31 Filed 03/25/20 Page 5 of 5

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FD-1023                                     Page 4 of 4     FEDERAL BUREAU OF INVESTIGATION

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